USCA Case #24-5235      Document #2080002       Filed: 10/15/2024   Page 1 of 12



               ORAL ARGUMENT NOT YET SCHEDULED
                          No. 24-5235

                                     IN THE

            United States Court of Appeals
          for the District of Columbia Circuit

                    NOVARTIS PHARMACEUTICALS CORPORATION,
                                                Plaintiff-Appellant,
                                     v.

     XAVIER BECERRA, SECRETARY OF HEALTH AND HUMAN SERVICES, et al.,
                                              Defendants-Appellees,
                                  and

                       MSN PHARMACEUTICALS INC., et al.,
                                                 Intervenor-Appellees.

                On Appeal from the United States District Court
                 for the District of Columbia, No. 24-cv-02234
                   Before the Honorable Dabney L. Friedrich

                    MOTION TO CONSOLIDATE APPEALS

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 October 15, 2024
USCA Case #24-5235                 Document #2080002                      Filed: 10/15/2024           Page 2 of 12



                                        TABLE OF CONTENTS
                                                                                                                Page

TABLE OF AUTHORITIES .................................................................................... ii

GLOSSARY..............................................................................................................iv

INTRODUCTION ..................................................................................................... 1

BACKGROUND ....................................................................................................... 1

ARGUMENT ............................................................................................................. 2

CONCLUSION .......................................................................................................... 3

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF SERVICE




                                                          ii
USCA Case #24-5235               Document #2080002                    Filed: 10/15/2024          Page 3 of 12




                                   TABLE OF AUTHORITIES
                                                                                                       Page(s)

Cases:

Ibrahim v. District of Columbia,
      No. 96-7069, 1997 WL 215796 ....................................................................... 3
Nken v. Holder,
      556 U.S. 418, 434 (2009) ............................................................................ 1, 2
Novartis Pharms. Corp. v. Becerra,
     No. 24-5186 (D.C. Cir.) ................................................................................... 1
United States v. Reese,
      993 F.2d 254, 256 (D.C. Cir. 1993) ................................................................ 3

Other Authority:

D.C. Circuit, Handbook of Practice and Internal Procedures (2021) ................... 1, 2




                                                       iii
USCA Case #24-5235       Document #2080002          Filed: 10/15/2024    Page 4 of 12




     CERTIFICATE OF PARTIES, RULINGS, AND RELATED CASES

        Pursuant to Circuit Rule 28.1(a)(1), Novartis Pharmaceuticals Corporation

certifies that:

   A.     PARTIES

   1.    The following are parties in this Court:

           a. Plaintiff-Appellant: Novartis Pharmaceuticals Corporation.

           b. Defendant-Appellees: Xavier Becerra, in his official capacity as

              Secretary of the United States Department of Health and Human

              Services, and Robert M. Califf, in his official capacity as the

              Commissioner of the Food and Drug Administration.

           c. Intervenor-Defendants:      MSN   Pharmaceuticals   Inc.   and   MSN

              Laboratories Private Ltd.

   2.    For purposes of Federal Rule of Appellate Procedure 26.1 and Circuit Rule

         26.1, Novartis Pharmaceuticals Corporation certifies that Novartis Finance

         Corporation is its direct parent corporation, and that Novartis

         Pharmaceuticals Corporation is an indirect, wholly-owned subsidiary of

         Novartis AG.

   B.     RULINGS UNDER REVIEW




                                           iv
USCA Case #24-5235       Document #2080002         Filed: 10/15/2024    Page 5 of 12



        Plaintiff-Appellant appeals an order and memorandum opinion issued on

October 13, 2024, by District Judge Dabney L. Friedrich, ECF Nos. 65 & 64. This

order and opinion denied Plaintiff-Appellant’s Motion for Summary Judgment (ECF

No. 38) and granted Defendants-Appellees’ Cross-Motions for Summary Judgment

(ECF Nos. 43, 46).

   C.    RELATED CASES

        The appeal docketed as Novartis Pharmaceuticals Corp. v. Becerra (D.C. Cir.

No. 24-05186) is a related case under Circuit Rule 28(a)(1)(C).



                                             /s/ Catherine E. Stetson
                                             Catherine E. Stetson

                                             Counsel for Novartis Pharmaceuticals
                                             Corporation




                                         v
USCA Case #24-5235   Document #2080002         Filed: 10/15/2024   Page 6 of 12



                              GLOSSARY


ANDA            Abbreviated New Drug Application

APA             Administrative Procedure Act

FDA             Food and Drug Administration

MSN             MSN Pharmaceuticals




                                    vi
USCA Case #24-5235       Document #2080002           Filed: 10/15/2024    Page 7 of 12



                                 INTRODUCTION

      This appeal challenges the Food and Drug Administration’s (FDA) approval

of a purported generic drug referencing Novartis’s product, ENTRESTO®

(sacubitril/valsartan), after FDA unlawfully concluded the product is the “same” as

Novartis’s brand-name product. That is the same subject of the appeal pending

before this Court in Novartis Pharms. Corp v. Becerra, No. 24-5186 (D.C. Cir.),

which arises out of the same litigation. The cases should be consolidated, and the

stay pending appeal this Court granted in the earlier-filed case should remain in place

pending the merits resolution of the consolidated appeal.

                                 BACKGROUND

      The relevant factual background is set out in Novartis’s motion for a stay

pending appeal, filed on August 15, 2024 in the related action. Novartis Pharms.

Corp. v. Becerra, No. 24-5186 (D.C. Cir.).

      The District Court first denied Novartis’s motion for a preliminary injunction.

This Court reached a different conclusion, finding that Novartis “satisfied the

stringent requirements for a stay pending appeal” in its August 19, 2024 Order

staying FDA’s action. Order, Novartis Pharms. Corp v. Becerra, No. 24-5186 (D.C.

Cir.) (citing Nken v. Holder, 556 U.S. 418, 434 (2009) and D.C. Circuit Handbook

of Practice and Internal Procedures 33 (2021)). In that Order staying FDA’s action,

the Court necessarily found that Novartis had “made a strong showing that [it] is
USCA Case #24-5235      Document #2080002          Filed: 10/15/2024    Page 8 of 12



likely to succeed on the merits” of its Administrative Procedure Act (APA)

challenge. Nken, 556 U.S. at 434.

      Summary judgment briefing in the District Court focused on the same legal

question raised at the preliminary-injunction stage: whether FDA complied with its

statutory and regulatory mandate to approve only a generic drug that is the “same”

as its reference listed product. In addition to its arguments that FDA approved a

product that does not have the same labeling as ENTRESTO, Novartis argued that

the administrative record showed that FDA unlawfully approved the purported

generic even though it does not share the same active ingredients as ENTRESTO.

On October 13, however, the District Court denied Novartis’s motion for summary

judgment and granted FDA’s and intervenor MSN Pharmaceuticals’ (MSN) cross-

motions for summary judgment.

                                    ARGUMENT

      Consolidation is appropriate here because the appeals arise from the same

underlying District Court proceeding and because Novartis is challenging the same

FDA action in both cases.

      The Court may consolidate closely related appeals that arise from the same

district court proceeding.    D.C. Circuit, Handbook of Practice and Internal

Procedures 24 (2021) (“[T]he Court generally will consolidate, on its own motion or

on motion of the parties, all appeals and cross-appeals from the same district court




                                         2
USCA Case #24-5235       Document #2080002            Filed: 10/15/2024    Page 9 of 12



judgment or order.”); see also, e.g., United States v. Reese, 993 F.2d 254, 256 (D.C.

Cir. 1993) (describing policy as “the practice of this circuit”); Ibrahim v. District of

Columbia, No. 96-7069, 1997 WL 215796, at *1 (D.C. Cir. Apr. 22, 1997) (appeals

that “arise out of the same district court case” are consolidated). The appeals here

meet that criteria.

      There is a second basis for consolidation here as well, given that the appeals

involve the same parties and closely related questions of law and fact. D.C. Circuit,

Handbook of Practice and Internal Procedures 24 (2021) (“In addition, other cases

involving essentially the same parties or the same, similar, or related issues, may be

consolidated.”). Both appeals raise the lawfulness of FDA’s action in approving an

Abbreviated New Drug Application (ANDA) referencing Novartis’s product. And

both appeals share the same combination of parties: Novartis, FDA, and intervenor

MSN. A consolidated briefing schedule will serve the interests of the parties and

judicial economy, as will assigning both appeals to the same merits panel.

                                   CONCLUSION

      For these reasons, the Court should consolidate the appeals and order that the

stay issued in the earlier-filed lead appeal remain in place pending the merits

resolution of the consolidated appeal.

                                         Respectfully submitted,

                                         /s/ Catherine E. Stetson
                                         CATHERINE E. STETSON


                                           3
USCA Case #24-5235   Document #2080002      Filed: 10/15/2024    Page 10 of 12



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Dated: October 15, 2024          Attorneys for Novartis Pharmaceuticals
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                                   4
USCA Case #24-5235      Document #2080002           Filed: 10/15/2024    Page 11 of 12



                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g)(1), the undersigned hereby certifies that this

document complies with the type-volume limitation of Fed. R. App. P. 27(d)(2).

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                                              /s/ Catherine E. Stetson
October 15, 2024                              Catherine E. Stetson
USCA Case #24-5235    Document #2080002         Filed: 10/15/2024    Page 12 of 12



                       CERTIFICATE OF SERVICE

      I certify that on October 15, 2024, the foregoing was electronically filed

through this Court’s CM/ECF system, which will send a notice of filing to all

registered users.

                                          /s/ Catherine E. Stetson
                                          Catherine E. Stetson
